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            In the United States Court of Federal Claims
                                    No. 13-94 C

                               (Filed July 12, 2013)


*********************
DAVID R. SMITH,      *
                     *
     Plaintiff,      *
                     *
           v.        *
                     *
THE UNITED STATES,   *
                     *
     Defendant.      *
*********************


                                     ORDER

       On July 1, 2013, plaintiff filed a Motion to Supplement the Administrative
Record. In support of his motion, plaintiff’s counsel included an Affidavit from
David Smith (docket no. 16-1) Plaintiff seeks leave of the court to supplement the
Administrative Record, filed on May 22, 2013, with an additional forty-four pages
(docket no. 16-2). On July 11, 2013, defendant filed an unopposed response to
plaintiff’s motion. For good cause shown, it is hereby ORDERED that plaintiff’s
motion is GRANTED; and the additional forty-four pages (docket no. 16-2), filed
on July 1, 2013, shall be a Supplement to the Administrative Record as of the date of
this order.


                                             s/Lynn J. Bush
                                             LYNN J. BUSH
                                             Judge
